






Opinion issued October 9, 2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-08-00312-CV






CLEVELVET BRAGG,  Appellant


V.


ROBERT GONZALEZ,  Appellee






On Appeal from the 151st District Court 

Harris County, Texas

Trial Court Cause No. 2006-41916






MEMORANDUM OPINION	Appellant Clevelvet Bragg has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov't
Code Ann. §§ 51.207 (Vernon 2005), 51.208 (Vernon Supp. 2008); 51.941(a)
(Vernon 2005), 101.041 (Vernon Supp. 2008) (listing fees in court of appeals); Fees
Civ. Cases B(1), (3) (listing fees in court of appeals).  After being notified that this
appeal was subject to dismissal, appellant Clevelvet Bragg did not adequately
respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing
involuntary dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Nuchia and Higley.


